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                                       EXHIBIT C

                                     TITLE REPORT




01:23901421.1
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                   Commonwealth Title Company of Garfield County, Inc.
                                              127 E. 5th Street
                                              Rifle, CO 81650
                                  Phone (970) 625-3300 / Fax (970) 625-3305

                                            1322 Grand Avenue
                                       Glenwood Springs, CO 81601
                                  Phone (970) 945-4444 / Fax (970) 945-4449


                                              Date: October 18, 2018
                                              File No. 1810058 ANTIC

                           Property Address. 376 Crystal Canyon Drive, Carbondale
                                               Tax Information


Listing Agent                                            Selling Agent

Aspen Snowmass Sotheby's International Realty            Aspen Snowmass Sotheby's International Realty:
415 East Hyman Avenue                                    415 East Hyman Avenue
Aspen, CO 81611                                          Aspen, CO 81611
Attn: Laura Gee                                          Attn: Laura Gee
Email: laura.gee@sothebysrealty.com;                     Email: laura.gee@sothebysrealty.com;
raleigh.vos@sothebysrealty.com; laura.gee@sir.com        raleigh.vos@sothebysrealty.com; laura.gee@sir.com


Buyer

Jan Silfverskiold
Email: jsilfverskiold@gmail.com



Seller                                                   Attorney

Sachs Bridge Investments, LLC                            Balcomb & Green
Development Specialists Inc.                             PO Drawer 790
14140 Ventura Blvd, Suite 302                            Glenwood Springs , CO 81601
Sherman Oaks, CA 91423                                   Attn: Chad Lee - Britt Choate
Attn: Matt Sorenson                                      Email:clee@balcombgreen.com; brittc@balcombgreen.com
Email: msorenson@dsi.biz


Closing Contacts

Glenwood Springs office - 970-945-4444                   Rifle office - 970-625-3300

Linda Gabossi - linda@cwtrifle.com                       Denna Conwell - denna@cwtrifle.com
Connie Rose Robertson - connie@cwtrifle.com              Patti Reich - patti@cwtrifle.com
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                                   COMMITMENT FOR TITLE INSURANCE
                                           SCHEDULE A
File No. 1810058 ANTIC

1.    Effective Date: October 12, 2018 at 7:59 AM

2.    Policy or Policies to be issued:

(a)   ALTA OWNER POLICY (ALTA 6-17-06)                                                                    $180,000.00

       Proposed Insured:

      Jan Silfverskiold

(b)   ALTA LOAN POLICY (ALTA 6-17-06)

       Proposed Insured:



3.    The Estate or interest in the land described or referred to in the Commitment and covered herein is Fee Simple and
      is at the effective date hereof vested in:

      Sachs Bridge Investments, LLC, a Deleware limited liability company

4.    The land referred to in this Commitment is situated in the County of Garfield, State of Colorado and
      described as follows:

      Lot 20
      Block Z
      River Valley Ranch
      Phase 7
      According to the plat thereof recorded February 11, 2003 as Reception No. 620571




                                                   TITLE CHARGES

                             Owner's Policy Standard Coverage              $416.00 Developers
                             Owner's Extended Coverage                                  50.00
                             Tax Certificate                                            15.00



COUNTERSIGNED: ___________________Patrick P. Burwell_____________________________
                                        Authorized Officer or Agent


                                      Valid Only if Schedule B and Cover Are Attached

American Land Title Association                          Issuing Agent:
Schedule A                                               Commonwealth Title Company of Garfield County, Inc.
(Rev'd 6-06)                                             127 East 5th Street Rifle, CO 81650
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                                               SCHEDULE B - SECTION 1

    The Following are the requirements to be complied with prior to the issuance of said policy or policies. Any other instrument
    recorded subsequent to the date hereof may appear as an exception under Schedule B of the policy to be issued. Unless otherwise
    noted, all documents must be recorded to the office of the Clerk and Recorder of the County in which said property is located.

1. Special Warranty Deed from Sachs Bridge Investments, LLC, a Delaware limited liability company, or the appropriate
   Bankruptcy Court approved officer vesting fee simple title in Jan Silfverskiold.

    Subject to approval of the proposed transaction by the United States Bankruptcy Court in Case No.17-12816KJC.

2. Recordation of an Order Authorizing the Bankruptcy Trustee or the appropriate Bankruptcy Court approved officer to Sell the
   Parcel to be insured hereunder issued by the United States Bankruptcy Court in Case No.17-12816KJC.

3. Approval by the Bankruptcy Court for the sale of this property and entry of a non-appealable order.

4. Collect Reserve Fund Contribution of $100.00, Initial Master Association account set up fee $150.00 and a master association
   statement prep fee $150.00

5. Note: Per Statement of Authority recorded May 16, 2018 as Reception No. 906831 the person(s) authorized to execute
   instruments conveying, encumbering or otherwise affecting title to real property are Frederick Chin, Chief Executive Officer of
   Woodbridge Group of Companies, LLC, authorized signatory on behalf of Sachs Bridge Investments, LLC, a Delaware limited
   liability company.

6. Receipt of a satisfactory Improvement Location Certificate certified to the company.

    Note: Required per contract.

7. Execution of a Final Affidavit and Agreement indemnifying the Company against unfiled mechanic's and materialmen's liens.




NM 6
American Land Title Association Commitment
Schedule B - Section 1 - Form 1004-5
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                                                             DISCLOSURES

Colorado Division of Insurance Regulation 8-1-2, Section 5, Paragraph F provides: "Whenever a title entity provides the closing and
settlement service that is in conjunction with the issuance of an owner's policy of title insurance, it shall update the title
commitment from the date of issuance to be as reasonably close to the time of closing as permitted by the real estate records. Such
update shall include all impairments of record at the time of closing or as close thereto as permitted by the real estate records. The
title insurance company shall be responsible to the proposed insured(s) subject to the terms and conditions of the title
commitment, other than the effective date of the title commitment, for all undisclosed matters that appear of record prior to the
time of closing." Provided Commonwealth Title Insurance Company of Garfield County, Inc. conducts the closing of the insured
transaction and is responsible for recording the legal documents from the transaction, exception number 5 will not appear on the
Owner's Title Policy and the Lenders Policy when issued. This Notice is required by Colorado Division of Insurance Regulation 8-1-2,
Section 5, Paragraph G.

Pursuant to Colorado Division of Insurance Regulation 8-1-2, notice is hereby given that affirmative mechanic's lien protection for
the prospective insured owner may be available upon compliance with the following conditions:
A. The land described in Schedule A of this Commitment must be a single family residence, which includes a condominium or
townhouse unit. B. No labor or materials may have been furnished by mechanics or materialmen for purposes of construction on
the land described in Schedule A of this Commitment within the past 6 months. C. The Company must receive appropriate affidavits
indemnifying the Company against all unfiled mechanic's and materialmen's liens. D. Any deviation from conditions A through C
above is subject to such additional requirements or information as the Company may deem necessary; or, at its option, the
Company may refuse to delete the exception. No coverage will be given under any circumstances for labor or material for which the
insured has contracted for or agreed to pay. Colorado Division of Insurance Regulation 8-1-2, Section 5, Paragraph M.

Pursuant to Colorado Division of Insurance Regulation 8-1-3, notice is hereby given of the availability of a Closing Protection Letter
which may, upon request, be provided to certain parties to the transaction.

Pursuant to C.R.S. §10-11-122, notice is hereby given that:
A) The subject real property may be located in a special taxing district; B) A Certificate of Taxes Due listing each taxing jurisdiction
may be obtained from the County Treasurer's authorized agent; C) The information regarding special districts and the boundaries of
such districts may be obtained from the Board of County Commissioners, the County Clerk and Recorder, or the County Assessor;
and D) The company will not issue its policy of policies of title insurance contemplated by the commitment until it has been
provided a Certificate of Taxes due from the County Treasurer or the County Treasurer's authorized agent; or until the Proposed
Insured has notified or instructed the company in writing to the contrary

C.R.S. §30-10-406 requires that all documents received for recording or filing in the clerk and recorder's office shall contain a top
margin of at least one inch and a left, right, and bottom margin of at least one half of an inch. The clerk and recorder may refuse to
record or file any document that does not conform.

Pursuant to C.R.S. §10-11-123, notice is hereby given:
This notice applies to owner's policy commitments containing a mineral severance instrument exception, or exceptions, in Schedule
B, Section 2.
A) That there is recorded evidence that a mineral estate has been severed, leased, or otherwise conveyed from the surface estate
and that there is a substantial likelihood that a third party holds some or all interest in oil, gas, other minerals, or geothermal energy
in the property; and B) That such mineral estate may include the right to enter and use the property without the surface owner's
permission.

If the transaction includes a sale of the property and the price exceeds $100,000.00, the seller must comply with the
disclosure/withholding provisions of C.R.S. §39-22-604.5 (Nonresident withholding).

Pursuant to C.R.S. §38-35-125(2), no person or entity that provides closing and settlement services for a real estate transaction shall
disburse funds as a part of such services until those funds have been received and are available for immediate withdrawal as a
matter of right. Colorado Division of Insurance Regulation 8-1-2, Section 5, Paragraph J. "Good Funds Law"

C.R.S. §39-14-102 requires that a real property transfer declaration accompany any conveyance document presented for
recordation in the State of Colorado. Said declaration shall be completed and signed by either the grantor or grantee and Section
38-35-109 (2) of the Colorado Revised Statutes, 1973, requires that a notation of the purchasers legal address, (not necessarily the
same as the property address) be included on the face of the deed to be recorded.
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                                                       SCHEDULE B - SECTION 2
Schedule B of the Policy or Policies to be issued will contain exceptions to the following matters unless the same are disposed of to the satisfaction
of the company:

    1.    Rights or claims of parties in possession not shown by the Public records.
          Note: This exception will be deleted on the final policy upon compliance with the requirements herein.

    2.    Easements, or claims of easements, not shown by the public records.
          Note: This exception will be deleted on the final policy upon compliance with the requirements herein.

    3.    Discrepancies, conflicts in boundary lines, shortage in area, encroachments, and any facts, which a correct survey and inspection of the
          premises would disclose, and which are not shown by the public records.
          Note: This exception will be deleted on the final policy upon compliance with the requirements herein.

    4.    Any lien, or right to a lien, for services, labor or material heretofore or hereafter furnished, imposed by law and not shown by the public
          records.
          Note: Exception No. 4 will be deleted upon receipt of Final Affidavits and Agreements indemnifying the Company against unfiled
          mechanic's and materialmen's liens.

    5.    Defects, liens, encumbrances, adverse claims or other matters, if any, created, first appearing in the public records or attaching subsequent
          to the effective date hereof but prior to the date the proposed insured acquires of record for value the estate or interest or mortgage thereon
          covered by this commitment.
           Note: Exception 5 will be deleted on the final policy if Commonwealth Title Company of Garfield County, Inc. closes the proposed
           transaction and records the applicable instruments of conveyance.

    6.    Any and all unpaid taxes, assessments and unredeemed tax sales.
          Note: Exception 6 will read: "General taxes and assessments for the year 2018 and thereafter, not yet due and payable." on the
          final policy if Commonwealth Title Company of Garfield County, Inc. closes the proposed transaction.

    7.    Any lien or charge on account of the inclusion of subject property in an improvement district.

    8.    Any and all water rights, claims, or title to water, whether or not the matters excepted are shown by the public record.

    9.    Right of the proprietor of a vein or lode to extract and remove his ore therefrom, should the same be found to penetrate or intersect the
          premises hereby granted and a right of way for ditches or canals as constructed by the authority of the United States, as reserved in United
          States Patent recorded June 11, 1893 in Book 12 at Page 204.

    10. Reservation of an undivided one-fourth (¼) interest in all oil, gas and other minerals in instrument recorded February 28, 1949 in Book
        240 at Page 577 and any and all assignments thereof or interests therein.

    11. Town of Carbondale Ordinance No. 19 Series of 1994 recorded January 16, 1995 in Book 928 at Page 862.

    12. Town of Carbondale Ordinance No. 21 recorded December 8, 1982 in Book 614 at Page 356.

    13. Town of Carbondale Ordinance No. 20 Series of 1994 recorded January 16, 1995 in Book 928 at Page 911.

    14. Town of Carbondale Ordinance No. 6 Series of 2001 recorded June 6, 2001 in Book 1258 at Page 794.

    15. Terms and conditions of agreement recorded January 15, 1995 in Book 928 at Page 865. Amendment recorded January 16, 1995 in Book
        928 at Page 897.

    16. Terms and conditions of Declaration of Restrictive Covenants and Reserved Easement Rights recorded January 16, 1995 in Book 928 at
        Page 994.

    17. Terms, conditions and all matters set forth in Ditch Ownership, Ditch Allocation, Ditch Use and Ditch Maintenance Agreement recorded
        January 16, 1995 in Book 928 at Page 983.

    18. Town of Carbondale Ordinance No. 23 Series of 1996 recorded September 27, 1996 in Book 993 at Page 840.

          (Continued)
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                                                    SCHEDULE B - SECTION 2
                                                         (Continued)
   19. Terms and conditions of Master Subdivision Improvements Agreement and Development Covenants for Phase I, River Valley Ranch
       recorded September 27, 1996 in Book 993 at Page 851. Supplemental Subdivision Improvements Agreement recorded August 12, 1997 in
       Book 1029 at Page 822. Amendment recorded February 9, 1998 in Book 1052 at Page 901. Supplemental Subdivision Improvements
       Agreement recorded June 5, 2001 in Book 1258 at Page 808. Supplemental Subdivision Improvements Agreement recorded February 11,
       2003 in Book 1435 at Page 881.

   20. Terms and conditions of Master Declaration of Protective Covenants for River Valley Ranch recorded September 27, 1996 in Book 994 at
       Page 24. Supplemental Declaration recorded December 6, 1996 in Book 1002 at Page 458. First Amendment recorded January 28, 1997 in
       Book 1007 at Page 509. Second Supplemental Declaration recorded August 12, 1997 in Book 1029 at Page 843. Third Supplemental
       Declaration recorded May 28, 1998 in Book 1069 at Page 823. Fourth Supplemental Declaration recorded May 13, 1999 in Book 1129 at
       Page 702. Fifth Supplemental Declaration recorded September 23, 1999 in Book 1151 at Page 789. Sixth Supplemental Declaration
       recorded February 28, 2000 in Book 1174 at Page 737. Seventh Supplemental Declaration recorded June 5, 2001 in Book 1258 at Page
       866. Eighth Supplemental Declaration recorded February 11, 2003 in Book 1435 at Page 896. Ninth Supplemental Declaration recorded
       November 12, 2003 in Book 1537 at Page 119. Tenth Supplemental Declaration recorded November 12, 2003 in Book 1537 at Page 126,
       and re-recorded January 22, 2004 in Book 1556 at Page 471. Eleventh Supplemental Declaration recorded June 29, 2004 in Book 1600 at
       Page 677.

   21. Terms and conditions of Water Rights Operating Agreement recorded September 27, 1996 in Book 994 at Page 1.

   22. Terms and conditions of Declaration of Golf Course Plat and Operational Easement recorded September 27, 1996 in Book 994 at Page 13.

   23. Terms and conditions of Amended and Restated Master Declaration of Protective Covenants for River Valley Ranch recorded March 25,
       1998 in Book 1059 at Page 623. Reallocation Amendment recorded December 5, 1997 in Book 1045 at Page 237. First Amendment
       recorded January 18, 1999 in Book 1109 at Page 450. Second Amendment recorded August 22, 2000 in Book 1203 at Page 79.
       Reallocation Amendment recorded July 26, 2001 in Book 1272 at Page 345. Reallocation Amendment recorded October 5, 2001 in Book
       1292 at Page 573. Reallocation Amendment recorded July 16, 2002 in Book 1369 at Page 770. Reallocation Amendment recorded
       February 24, 2004 in Book 1563 at Page 480. Third Amendment recorded June 2, 2005 in Book 1692 at Page 657.

   24. Town of Carbondale Ordinance No. 6 Series of 2001 recorded June 5, 2001 in Book 1258 at Page 794.

   25. Town of Carbondale Ordinance No. 19 Series of 2002 recorded February 11, 2003 in Book 1435 at Page 871.

   26. Town of Carbondale Resolution No. 6 Series of 2004 recorded April 14, 2004 in Book 1577 at Page 461.

   27. Right of way easement granted to Holy Cross Energy in instrument recorded May 16, 2005 in Book 1687 at Page 963.

   28. Easements, rights of way and all other matters shown on the plat of River Valley Ranch, Phase 8 recorded February 11, 2003 as Reception
       No. 620572.




   NOTE: EXCEPTION(S) 1,2,3 and 4 WILL NOT APPEAR IN THE OWNER'S POLICY TO BE ISSUED HEREUNDER.

   The Owner's Policy of Title Insurance committed for in this Commitment, if any, shall contain, in addition to the Items set forth in Schedule B -
       Section 2, the following items:
   (1) The Deed of Trust, if any, required under Schedule B - Section 1. (2) Unpatented mining claims; reservations or exceptions in patents or in
       Acts authorizing the issuance thereof. (3) any and all unpaid taxes, assessments and unredeemed tax sales.

   NOTE: The policy (s) of insurance may contain a clause permitting arbitration of claims at the request of either the Insured or the Company.
   Upon request, the Company will provide a copy of this clause and the accompanying arbitration rules prior to the closing of the transaction.

   American Land Title Association Commitment
   Schedule B - Section 2
   Form 1004-12
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                                 COMMONWEALTH TITLE COMPANY PRIVACY POLICY

We Are Committed to Safeguarding Customer Information
In order to better serve your needs now and in the future, we may ask you to provide us with certain information. We understand that
you may be concerned about what we will do with such information - particularly any personal or financial information. We agree
that you have a right to know how we will utilize the personal information you provide to us. Therefore, we have adopted this Privacy
Policy to govern the use and handling of your personal information.

Applicability
This Privacy Policy governs our use of the information which you provide to us. It does not govern the manner in which we may use
information we have obtained from any other source, such as information obtained from a public record or from another person or
entity.

Types of Information
Depending upon which of our services you are utilizing, the types of nonpublic personal information that we may collect include:

        •    Information we receive from you on applications, forms and in other communications to us, whether in writing, in person,
             by telephone or any other means.

        •    Information about your transactions with us, our affiliated companies, or others; and

        •    Information we receive from a consumer reporting agency.

Use of Information
We request information from you for our own legitimate business purposes and not for the benefit of any nonaffiliated party.
Therefore, we will not release your information to nonaffiliated parties except: (1) as necessary for us to provide the product or
service you have requested of us; or (2) as permitted by law. We may, however, store such information indefinitely, including the
period after which any customer relationship has ceased. Such information may be used for any internal purpose, such as quality
control efforts or customer analysis. We may also provide all of the types of nonpublic personal information listed above to one or
more of our affiliated companies. Such affiliated companies include financial service providers, such as title insurers, property and
casualty insurers, and trust and investment advisory companies, or companies involved in real estate services, such as appraisal
companies, home warranty companies, and escrow companies. Furthermore, we may also provide all the information we collect, as
described above to companies that perform marketing services on our behalf, on behalf of our affiliated companies, or to other
financial institutions with whom we or our affiliated companies have joint marketing agreements.

Former Customers
Even if you are no longer our customer, our Privacy Policy will continue to apply to you.

Confidentiality and Security
We will use our best efforts to ensure that no unauthorized parties have access to any of your information. We restrict access to
nonpublic personal information about you to those individuals and entities who need to know that information to provide products or
services to you. We will use our best efforts to train and oversee our employees and agents to ensure that your information will be
handled responsibly and in accordance with this Privacy Policy. We currently maintain physical, electronic and procedural safeguards
that comply with federal regulations to guard your nonpublic personal information.
